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Physical plant, environmental and treatment conditions in the OHU were
substandard. Many potentially dangerous objects were present. Stays in the OHU while
awaiting MHCB placement were overly long. The quality of psychiatric treatment and
documentation varied widely. Psychiatrists evaluated inmates only if medication-related
issues arose. Progress notes were more informative than in the past.

The long-standing dispute between custody and nursing over
responsibility for supervising OHU inmates persisted. CRC began drafting procedures
but still needed to address custody duties, use of restraints and inmate property. Custody
observation of inmates on suicide watch appeared to have improved. Direct observation
occurred more consistently, and supervisory checks of inmates on suicide watch occurred
more frequently.

Reception center transfers of 3CMS inmates were timely. EOP inmates
were transferred to CIM and CIW within one day of identification and were tracked while
at those institutions. Of the 17 male EOP inmates who went to CIM, four were
transferred subsequently within the 60 day timeframe; four had lengths of stay lasting
from 73 to 95 days; and the remaining nine were at CIM fewer than 60 days. Of the
seven female EOP inmates transferred to CIW, one was transferred subsequently within
60 days; one stayed for 86 days; and the remaining five were at CIW fewer than 60 days.

Other CAP Issues:

Psychiatric contacts were erratic. Timely initial and follow-up
assessments were not made consistently. Fewer than half of inmates on psychotropic

medication received psychiatric follow-up timely, according to monthly staff audits.

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Fewer than half of IDTT meetings were attended by a psychiatrist. Slightly more were
attended by correctional counselors.

CRC’s heavy reliance on contract psychiatrists led to poor continuity of
care. Lack of adequate psychiatric supervision or peer review allowed poor psychiatric
medication management practices to continue uncorrected. Many psychiatrists’ progress
notes were poor, omitted critical information and lacked treatment or medication change
rationales.

As of February 8, 2006, CRC had trained 784 of 828, or 94 percent, of
staff in the amended CPR policy and 95 percent in the use of a micro-shield. Untrained
staff was away from CRC.

CRC had implemented the amended emergency medical response policy
and revised post orders. All units had cut-down tools, gloves, protective jumpsuits and
face shields. Practices were not fully compliant. All housing unit officers were required
to inventory the unit’s emergency response kit upon reporting to their posts, but there was
no procedure to supervise compliance or collect inventory logs from housing units. Not
all emergency response kits were kept in a separate locked box. Several signatures were
missing from inventories. Some logs recorded erroneously that inventories were
complete. Some officers did not carry micro-shields. There were no emergency
responses involving caseload inmates during the monitoring period

Institutional Summary:

The lack of permanent line psychiatry staff at CRC adversely affected
quality management and medication management functions, and made psychiatric

contacts erratic. Other disciplines were well-staffed.

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Quality management infrastructure was in place but solid, long-term
progress was hampered by lack of multidisciplinary participation on key committees.
Peer review was limited to psychologists. Medication continuity was sustained for
arriving and transferring inmates, but use of a single pill line per gender led to non-
compliance problems. High volume of referrals and attendant follow-up frustrated efforts
to respond to medication non-compliance. Practices related to informed consent,
laboratory testing, DOT and HS medication were substandard. Paroling inmates were
supplied with their medications.

Transfers to MHCBs were slow due to a lack of beds. Stays in the OHU
were long and marked by inconsistent quality and quantity of psychiatric treatment.
Nursing and custody were still in discord over responsibility for OHU inmate
supervision. Transfers of 3CMS and EOP inmates from reception center were generally
timely.

Most staff was trained in CPR. The amended emergency medical

response policy was implemented.

California State Prison, Corcoran (CSP/Corcoran)
May 8, 2006 — May 11, 2006

Staffing levels changed little during the monitoring period. Among
supervisory mental health positions, 5.79 of 9.79 positions remained vacant including
positions for a chief psychiatrist, a supervising psychiatrist and two senior psychologists.

There were 7.8 line psychiatrist positions open. After coverage by
contractors, there were 21.21 vacancies in psychology and 3.5 in social work. One of
four senior psych tech positions was vacant. Among psych techs there were 17.59

vacancies with coverage by contractors.

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One of four supervisory nursing positions in mental health was vacant.
For line nursing staff, 15 of 32 positions were vacant. A full-time Keyhea coordinator
position was also vacant.

The equivalent of 1.5 office supervisory position and two office tech
positions were open. In addition, two office tech positions had been diverted from mental
health. Seven recreational therapist positions were open.

Institutional population at the time of the monitor’s visit was 5,242
inmates, of whom 1,107 were on the mental health caseload. There were 406 inmates in
administrative segregation, including 115 3CMS inmates. There were over 210 EOP
inmates at CSP/Corcoran and approximately another 45 to 55 who were housed in the
administrative segregation hub unit and the SHU,

Issues Resolved:

Inmates in need of higher levels of care were transferred to DMH.
Inmates in need of stabilization were sent to the MHCB.

The restraint log was complete, although practices regarding the use of
restraints required further improvement.

RVR documentation consistently referred to the mental health assessment
as having been considered at the hearing, reported its content and
explained its use in findings and dispositions.

Psych techs made rounds in the SHU.

Quality Management:

The quality management committee met at least twice monthly and
covered a broad range of issues. According to minutes, approximately 60 percent of

members attended.

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The mental health quality management subcommittee met twice monthly
with one exception. Attendance was low, particularly by custody staff and non-mental
health disciplines, but improved after a warden’s directive. Minutes indicated
consideration of important issues including UHR availability, IDTT schedules,
medication non-compliance, audits of EOP and 3CMS treatment, MHCB indicators,
access to DMH, suicide prevention and the sexual misconduct protocol.

Separate peer review committees were formed for psychologists and
psychiatric social workers and were comprised of three members of the discipline who
reviewed medical records and provided feedback. There no peer review among
psychiatrists due to low staffing, but a protocol was developed.

The suicide prevention committee met monthly with all members in
attendance. Minutes showed discussion of individual cases and topics including
increased alcohol and drug-related assaults on officers and development and posting of
suicide prevention flyers.

Two large staff audits found an 85 percent concordance rate between
MHTS and URR entries in November 2005 and a 91 percent rate in March 2006.
Reportedly, staffing shortages curtailed audits and QITs during the monitoring period.

Medication Management:

Newly arriving inmates received orders and administration of medications
within 24 hours of arrival in 83 percent of surveyed cases, according to an audit. To
prevent expirations of psychotropic medication orders, a psychiatrist reviewed lists of
expiring orders and UHRs and wrote bridge orders for up to 30 days without patient

contact.

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A procedure to notify yard clinics of inmate intra-institutional transfers
was not followed during mass relocations, leading to discontinuity.

Response to medication non-compliance declined due to turnover among
MTAs and LVNs and general staffing pressures in mental health. Cheeking and hoarding
were problematic in the SHU and the administrative segregation unit.

The pharmacy dispensed medication orders within 24 hours, but high
turnover among contractors slowed the processing of orders from some locations.

Informed consent was filed in only half of a sample of 22 UHRs of
inmates treated at the EOP level of care.

Laboratory testing of psychotropic medication blood levels followed
protocols, but in practice psychiatry shortages undermined reliability in practice.

There was no central record of inmates with DOT orders nor clinical
teview of use of DOT versus NAM orders. A QIT on the topic was inactive. DOT was
followed for EOP inmates in general population and in administrative segregation.
Although supervisors observed medication administration in the SHU, found good
compliance with DOT and had about 40 percent of the caseload on DOT orders, non-
compliance was common. Informational chronos were written when medication misuse
was detected. Non-compliance was addressed in SHU IDTT meetings when possible.

On average three to four new Keyhea petitions were initiated each month.
In May 2006, 42 inmates had current Keyhea orders, with 26 of them initiated during the
monitoring period. Documentation and tracking was inconsistent. Some denials of
Keyhea orders were attributed to staffing difficulties and inconsistent availability of a

full-time Keyhea coordinator.

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HS medication was administered after 8:00 p.m.

Pharmacy records demonstrated that 99 percent of inmates who were
paroled with current medication orders signed for and received a medication supply upon
release.

Mental Health Assessments for the Disciplinary Process:

CSP/Corcoran was in compliance in this focus area. From September 1,
2005 through March 31, 2006, there were 1,767 RVRs issued, of which 331 were issued
to 3CMS inmates and 55 were issued to EOP inmates. None were issued to inmates in
the MHCB. Mental health assessments were requested for 33 3CMS and for all EOP
inmates who incurred charges or a total of 64 inmates. Eleven cases were still pending,
four were dismissed and three were found not guilty. Of 46 RVRs resulting in a finding
of guilt, mental health factors were cited in 30 cases. This resulted in reductions in loss-
of-credit time and losses of privileges. Sanctions were not mitigated in six cases in which
mental health factors were considered. One case made no reference to mental health
factors and did not reduce any penalties.

Transfers:

Access to acute care at DMH/CMF was good. From December 12, 2005
through May 4, 2006, 34 inmates were referred and transferred to acute care. Of those
34, 16 had returned. Staff received discharge summaries via fax before inmates returned
from DMH. Time lapses between referral to acute care and acceptance or bed
assignment by DMH ranged from one to 14 days. Once accepted, inmates were moved to

acute care within one to six days.

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CSP/Corcoran made ten referrals to DMH intermediate inpatient care at
Salinas Valley State Prison (SVSP) SVPP between August 2005 to April 2006. Once
accepted, inmates were transferred within two to seven days. By May 2006, three
inmates had been transferred, one was slated for transfer during the week of the monitor’s
Visit and six were on the SVPP wait list.

There were 23 inmates in the MHCB although CSP/Corcoran generally
maintained an informal cap of 16 in an effort to have a psychiatrist-inmate ratio of one to
16. It was staffed with a full-time psychiatrist, a full-time psychologist, a part-time
correctional counselor and a complement of nurses and other healthcare staff.
Correctional counselors facilitated transfers to DMH when necessary. The full-time
correctional counselor position devoted to the MHCB was reduced to part-time during the
monitoring period. The recreational therapy position was vacant. MHCB inmates had no
access to indoor or outdoor recreation.

The majority of MHCB inmates had expressed suicidal ideation. Staff
continued to refer inmates to the MHCB when warranted. According to the emergency
room log, of the 281 inmates evaluated for MHCB admission, 82 to 87 percent were
admitted and 77 percent were admitted for evaluation and treatment related to suicidal
ideation. Lengths of stays in the MHCB ranged from one to 28 days with rare
exceptions. According to staff, stays rarely exceeded ten calendar days unless a transfer
to DMH or Keyhea process intervened or an admission occurred near a weekend.
Another reason for delay was a practice of retaining DMH-bound inmates in the unit

involved in the Keyhea process until it was finished.

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In daily MHCB rounds, inmates were interviewed by three clinicians in a
private office and could request a confidential contact as well. IDTT meetings were held
twice weekly. C-files were not brought to the meetings although reportedly they were
available for post-hoc review if necessary. Returns of inmates to their housing units were
well documented. A staff audit found that of 268 inmates discharged from the MHCB,
92.5 percent were given five-day follow-up.

Holding cells in the emergency room were too small and not equipped
with seats. EOP inmates reported that they were sometimes sent to the correctional
treatment center (CTC) for punitive reasons, often spending four to five hours, and in
some instances as long as 11 hours, in a holding cell. The monitor was unable to confirm
these reports during the visit.

The restraint use log was weil maintained but entries raised questions
about use of restraints. From January 1 to May 10, 2006, six inmates were restrained.
Entries for half of those cases suggested that restraints might have been used for punitive
reasons or for excessively long periods of time. Times in restraints ranged from 4.1
hours to 44.5 hours.

Psychiatric services unit (PSU) inmates were not transferred within
timeframes. Seven EOP inmates with SHU terms were housed in administrative
segregation pending transfer to a PSU. The average length of stay subsequent to
endorsement was 72 days, with a range of 20 to 131 days. Reasons for delay included no
open PSU beds, delays between institutional classification committee (ICC) referral dates
and classification services representatives (CSR) endorsements, admissions to MHCB

and DMH, and incomplete information on EOP inmates with active SHU cases.

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A conversion of one facility from Level IV to Level III triggered scores of
transfers into and out of the EOP unit.

Other CAP Issues:

a. Partial Compliance

Many indicators of compliance with EOP treatment requirements
remained at or above 90 percent except when staff absences resulted in cancellation of
scheduled treatment sessions. The influx of new arrivals to the EOP consumed a large
amount of clinical resources and demanded full consideration of housing and other
custody issues during IDTT meetings. EOP lacked a full-time psychiatrist who could
routinely perform required work. Case manager weekly contacts in general population
occurred in about 90 percent of cases, Treatment hours and attendance differed by
security status. EOP inmates in the general population received more hours and refused
less than EOP inmates in administrative segregation or the SHU. The quality of group
treatment and IDTTS was good although some C-files were missing. [DTT meetings
were well-attended with active participation.

In the administrative segregation hub unit, a staffing ratio of one to nine
was maintained by six case managers and a full-time psychiatrist. Weekly contacts
occurred in about 82 to 96 percent of cases. Space limitations made confidentiality
impossible. The recreational therapist position remained vacant. Some groups were
scheduled during yard time for segregated EOP inmates and lacked continuity. Group
members were not visible to each other. The contract psychiatrist did not always attend

IDTT meetings. IDTT meetings were timely in about 90 percent of cases.

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For 3CMS inmates in administrative segregation, the ratio of case
managers to inmates was one to 30. Weekly case manager contacts were made at a rate
of 95 to 100 percent, but many were held cell-front due to lack of private interview space.
A contract psychiatrist was available primarily on weekends. Weekly staff meetings
resumed and were reportedly beneficial. Rates of staff turnover and absences were high
during the monitoring period

IDTT meetings for 3CMS inmates in the general population and in
administrative segregation were generally not attended by a full team. Some meetings
were attended only by a case manager while others were attended by a case manager
other than the inmate’s. No correctional counselors participated.

Population of 3CMs inmates in the SHU ranged from 475 to 510 between
August 2005 and April 2006. Since January 2006 case managers made quarterly contacts
in about 90 percent of cases. Psych techs made weekly rounds for caseload inmates.
IDTT meetings were timely in 80 percent of cases and lacked full attendance although
several observed meetings were of good quality. Staff reported increasing severity of
mental illness among SHU inmates and a need for increased treatment

Mental health staffing was more stable for the 250 general population
3CMS inmates. Psychiatric treatment was provided to most via telemedicine. There
were four groups. There was no psychiatric representation at IDTT meetings. A staff
audit found that 69 percent of cases had current treatment plans. Case manager contacts
were timely in 95 to 97 percent of cases.

b. Non-compliance

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Timeliness of initial IDTT meetings and mental health evaluations
decreased. Initial IDTT meetings were timely only in the general population EOP unit,
but less than 60 percent were attended by a psychiatrist. Treatment plans were updated in
90 percent of cases only in administrative segregation.

Lack of confidential treatment space was problematic throughout the
institution, particularly in administrative segregation.

The medical records filing backlog was 4.5 feet or about three weeks.
UHR availability remained problematic. Medical records were available for ICC and
IDTT meetings about half of the time.

Other Issues:

New arrivals to administrative segregation were screened by psych techs
within 72 hours in a semi-confidential setting. Inmates who refused to leave their cells
were interviewed cell-front. Those who refused altogether were referred to mental health
and seen by a case manager.

Psych techs rounded caseload inmates daily and case manager contacts
occurred weekly with caseload inmates in administrative segregation. Over half of case
manager contacts were made at cell-front, primarily because of a lack of confidential
treatment space. Case manager contacts and IDTT meetings in the SHU did not increase.
Needed additional staffing positions were allocated but not filled.

The number of documented incidents rose by 60 percent from December
1, 2005 through March 31, 2006. Force was used in about half of reported incidents,

down by six percent from the previous rate. Involvement in the MHSDS was not

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correlated with use of force. Reportedly there had been no training in the use of force
beyond typical block training.

Institutional Summary:

Four supervisory and 32.5 line mental health positions remained open and
not covered by contractors. Vacancies were also high among psych techs and
recreational therapists.

Institutional and mental health quality management committees met
regularly but attendance was often low. Peer review was implemented for psychologists
and social workers. Staffing shortages curtailed auditing and QIT activities.

Medication continuity was sustained for about 83 percent of newly
atriving inmates. For inmates transferring intra-institutionally, continuity was challenged
when mass relocations occurred. Response to medication non-compliance was frustrated
by high turnover among MTAs and LVN%s and staffing pressures in general. Cheeking
and hoarding were problematic in the SHU and administrative segregation. High
turnover in the pharmacy staff slowed the processing of medication orders. Informed
consent was obtained in about half of cases. A shortage of psychiatrists hindered use of
laboratory testing for blood levels of inmates on mood stabilizing medication. DOT was
not comprehensively recorded or reviewed. Although delivery protocols were reportedly
followed well in the SHU, non-compliance was common. New Keyhea petitions were
initiated, but documentation and tracking were inconsistent. Some denials of Keyhea
orders were attributed to staffing shortages. HS medications were delivered after 8:00

p.m. Almost all paroling inmates received a supply of their medications at discharge.

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CSP/Corcoran complied with the use of mental health assessments for the
disciplinary process.

Access to acute care at DMH/CMF was good and transfers were timely.
The MHCB unit was filled over its cap, but stays rarely exceeded ten days and discharged
inmates who needed five-day follow-up received it. Rounds were made by three
clinicians and IDTT meetings were held twice weekly. Returns from MHCBs were well
documented, PSU inmates were not transferred timely.

A well-maintained restraint log raised some questions about possible
punitive use of restraints.

Case manager contacts for EOP and 3CMS care were generally compliant.
Generally, IDT'T meetings for 3CMS inmates in both general population and
administrative segregation were not well attended. Generally, timeliness of initial IDTT
meetings and treatment plans declined; confidential treatment space was lacking
throughout the facility; the filing of medical records was behind by about three weeks;
and in administrative segregation, new arrivals were screened by psych techs within 72
hours. Required psych tech rounds and case manager contacts occurred regularly.
Incidents rose by 60 percent and force was used in about half of them.

Overall, the delivery of mental health services showed substantial
improvement during the monitoring period despite severe staffing shortages.

Calipatria State Prison (CAL)
Paper Review

Of CAL’s small allocation of 1.5 psychiatrist positions, only the half-time
position was filled. CAL did not use contractors or telemedicine to cover the vacant full-

time psychiatry position. One of three psychologist positions was vacant. A single

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contractor provided a varying number of hours, covering from half to nearly all
uncovered hours each month. Six psych tech positions were allocated; 3.5 were vacant.
Several newly allocated positions had not been established although over six months had
elapsed since they were allotted. Staff reported no recruiting efforts were underway to
fill long-term vacancies.

CAL apparently had 40 3CMS and five EOP inmates at the time of the
paper review, but the documentation provided was inconsistent.

Issues Resolved:

Psych techs made daily rounds in administrative segregation.
Quality Management:

Due partly to the small size of the mental health staff and caseload, CAL
did not have a well-developed quality management process. There was no indication that
a local governing body or a healthcare quality management committee met, and no
materials on QITs were provided in the review documents. The mental health
subcommittee and suicide prevention committee generally met twice monthly, but the
scope and amount of quality management activity undertaken was not documented.
Membership on the committees was multidisciplinary, but attendance was somewhat
erratic. The suicide prevention committee recently included reviews of suicide attempts
on its meeting agendas. CAL had no peer review due to the small number of clinicians in
the facility.
Medication Management:

No audits of medication management were conducted despite some

indications of problems. The staff’s limited review of cases, discussions in quality

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Management meetings and reports of medication errors suggested some lapses in
medication continuity when inmates were moved within the prison, particularly after
discharge from the OHU. CAL did implement an earlier recommendation to record
medication errors and had developed a mechanism to respond to medication non-
compliance, although no information was provided on whether the latter worked.

Although psychiatrists reportedly wrote DOT orders for patients who were
non-compliant with medication, no DOT or HS orders were active at the time of the
paper review. During the monitoring period, CAL housed one inmate with a Keyhea
order.

Mental Health Assessments for the Disciplinary Process:

The issue of mental health assessments in conjunction with the
disciplinary process was ripe for resolution, but inadequate information to resolve the
issue was provided. The paper review merely noted that eight mental health assessments
were conducted during the monitoring period.

Transfers:

Documents regarding transfers covered a period of 22 weeks. CAL did
not refer inmates directly to DMH. Documentation on OHU operations included referrals
to MHCBs, admissions, discharges, diagnoses and lengths of stay but omitted some
information. Different sources of information were also sometimes inconsistent.
Omissions and discrepancies yielded an incomplete picture of MHCB referrals and
obscured whether discharge plans included suicide prevention follow-up as warranted.

According to the documents provided, CAL made 21 referrals to MHCBs

units elsewhere. Most were initiated timely, but nearly half of them were rescinded after

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waits ranging from five to 14 days. According to another document, 11 of 18 inmates
referred to a MHCB were actually transferred. Of these 11 referrals, only five were
transferred within three days of their admission to the OHU.

One information source showed 39 OHU admissions, roughly comparable
with admission notes in earlier monitoring periods. Fewer than half of the cases, 18,
were discharged within 72 hours. Of the 21 cases with excessive lengths of stay, a
handful exceeded the 72 hour limit by one or two days. Ten had excessive lengths of stay
because they were awaiting transfer to an MHCB. Two long lengths of stay involved
EOP inmates awaiting transfer who were considered too low functioning for placement
outside the OHU. The remaining six probably should have been referred to an MHCB in
accordance with Program Guide requirements, but instead lived in the OHU for two to
four weeks without a referral to a higher level of care.

Treatment in the OHU did not conform to CDCR requirements. Staff
audited five charts and found adequate compliance with admission evaluations and daily
contacts by a clinician, but inmates in the OHU were seen only weekly by a psychiatrist.
Staff reported that initial IDTT meetings were held but no subsequent meetings were
held, regardless of an inmate’s length of stay. All of the audited cases reflected that
suicide risk assessments were conducted upon admission, but risk assessments were not
completed at discharge. Logs and printouts suggested that at least nine inmates admitted
for suicidality were not discharged with plans for five-day clinical follow-up or custody
observation. Of the 18 inmates discharged with planned five-day follow-up, 90 percent

were seen all five days; among the remainder, contacts were missed once during the five-

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day period. To date, CAL has not provided documentation on hourly custody
observations of inmates discharged from MHCBs or the OHU.

Restraints were applied twice during the monitoring period. In one
instance, the duration of the use of restraint exceeded 24 hours. Provided documentation
did not indicate whether CAL’s use of restraints met applicable requirements.

CAL continued to do a good job of transferring caseload inmates out of
the institution. Documents were not completely clear, but it seemed that most or all of
the 120 3CMS inmates plus the 28 EOP inmates who were housed in CAL during the
monitoring period were either transferred or paroled within mandated timeframes.

Documentation did not indicate whether the tighter 27-day transfer
timeline was met when caseload inmates were mistakenly transferred to CAL. The
institution received 23 such caseload inmates during the 22 week period covered by the
documents. Two exceptions to the transfer timelines involved inmates who had lengths
of stay of five and nine months in administrative segregation at CAL. One was at CAL
on out-to-court status; the presence of the other was not explained.

Other CAP Issues:

a. Partial Compliance

Staff audits found that 80 percent of referrals generated by bus screenings
received a timely response and 81 percent of initial mental health assessments were
timely. Some mental health contacts were canceled for lack of interpreter services and
not rescheduled for weeks.

Treatment plans were written timely. Only one inmate remained in the

institution long enough to need a quarterly case management contact, which was

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provided. All inmates remaining at CAL long enough to need an IDTT meeting received
one.

The local operating procedure (LOP) did not address emergency or urgent
referrals. Documentation indicated that 96 percent of all staff and self-referrals were
responded to within a week or less, with the remaining referrals eliciting a response
within two weeks.

b. Non-compliance

CAL had an adequate LOP for screening inmates placed in administrative
segregation, but staff apparently did not determine whether it had been implemented.
Weekly case management contacts in administrative segregation were often missed.

Staff audited seven cases, finding only two with weekly contacts. In April 2006 only two
inmates had been in administrative segregation long enough to need weekly contacts;
neither was seen weekly. Documentation was ambiguous, but it appeared that more than
half of weekly case management contacts were refused, did not occur, or occurred at celi-
front.

Institutional Summary:

While CAL has long been close to full compliance with the Program
Guide, staff erosion, inadequate self-monitoring and self-correction and little responsive
development to new requirements seemed to signal declining compliance. The
documentation provided for this paper review was sparse.

The use of mental health assessments in the disciplinary process was close
to resolution in the preceding monitoring period, but CAL’s report that eight mental

health assessments were conducted in connection with RVRs during the current

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monitoring period did not suffice to resolve the issue. Nor did the documentation
provided confirm improvements in the remaining three areas, quality management,
medication management and timely transfers.

Practices in the OHU were inconsistent with CDCR requirements.
Although initial IDTT meetings were held and suicide risk assessments were conducted
on admission, no subsequent IDTT meetings for inmates with long lengths of stay
occurred, nor were suicide risk assessments done at discharge. Not all inmates
discharged from the OHU following a suicide-related admission received five-day
clinical follow-up, nor did CAL address the requirement for follow-up observation by
custody staff.

CAL continued to transfer most caseload inmates out within required
timeframes. Most referrals made to mental health were responded to within one week,
but 20 percent of initial contacts with newly arrived inmates were late. CAL needed to

improve access to interpreters and see all new inmates within five days.

Centinela State Prison (CEN)

Paper review
CEN depended upon contractors to provide most of its mental health
treatment. The .75 psychiatry position remained vacant but a shifting array of contractors
covered the vacancy during most months. This required several physicians per month.
There was much turnover among them. CEN did not use telemedicine. One of three
allocated psychology positions was filled. A group of several steady contractors covered
both vacancies during half of the monitoring period, but only one vacancy was covered

during the other half. At the end of the monitoring period, the functional vacancy rate for

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psychiatrists and case managers approached 100 percent. Only one individual was on
staff and there was no supervisor in any discipline.

A supervising nurse and three registered nurses were dedicated to the
MHSDS; one was on leave. The recreational therapist position had long been vacant.
Four of six psych tech positions were vacant and the amount of contractual coverage was
negligible. CEN’s clerical positions were fully staffed.

Staff reported that contractors largely covered nursing and pharmacy
vacancies. CEN had 27.5 registered nurse positions, six and one-half of which were
vacant or uncovered due to leaves. Ten of 32 MTA positions were vacant or uncovered
due to leaves. In the pharmacy four of seven positions were vacant. All positions in the
laboratory were filled. Medical records had three vacancies among 21.5 positions. At the
time the documents were produced, 35 3CMS inmates were housed in CEN, five of them
in administrative segregation and two in the CTC.

Quality Management:

The local governing body appeared to have met once. The healthcare
quality management committee met every other month. Membership was
interdisciplinary, and mental health matters were on the agenda regularly. The mental
health subcommittee held its formative meeting. While other disciplines attended, no
custody staff was present. Despite several known problems, no issues that addressed
caseload inmates were the subject of QITs during this or the previous monitoring period.
Peer review was extended to psychiatrists and involved some contract psychologists, but

it strayed outside the parameters typical of peer review.

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The suicide prevention committee met monthly. Membership included
nurses and classification staff, but some important members were missing. Discussion
centered on case reviews of suicide-related CTC admissions, but excluded other topics
pertinent to suicide prevention. Deficiencies identified in one suicide-related CAP were
not on any agenda provided.

Medication Management:

Medication continuity on arrival, renewal of orders and intra-institutional
moves was not demonstrated in the documents provided, although a reasonable policy on
the last was provided. Staff reported that they saw all inmates following a first instance
of medication non-compliance, but no audit to confirm that report had been conducted.

An audit of renewal orders, lab orders and consent forms found that only
52 percent of audited inmates received medication within a day of the medication order.
Some delays between orders and administration were as long as 17 days. Apparently, no
action was taken in response to that finding. Only one inmate needed laboratory testing,
but it was not ordered. Informed medication consent forms were filed in 90 percent of the
sampled UHRs.

Staff received further training in DOT, but implementation had not been
reviewed. Reportedly, there were no inmates with current Keyhea orders at CEN during
the monitoring period. Documentation showed that nearly 25 percent of inmates at CEN
had HS orders. CEN had a well-designed procedure to ensure that paroling inmates
received a supply of medication upon release. A log seemed to show that the procedure

worked, but no audits had been done.

Mental Health Assessments for the Disciplinary Process:

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There were 1,453 RVRs written during the monitoring period. One was
issued to an EOP inmate; it was dismissed. No RVRs were issued to inmates in the CTC.
Seven were issued to 3CMS inmate. All seven 3CMS and 15 non-caseload inmates, who
were referred for a mental health assessment in conjunction with a RVR, actually
received assessments. Mental health assessments improved in that clinicians reviewed
required files and did not complete assessments for inmates on their own caseload. Some
assessments seemed to have been completed without benefit of an interview with the
accused inmate. In most assessments, the language was helpful and accessible, while a
few contained incriminating statements that were superfluous to finding.

The warden issued ongoing guidance to hearing officers. In all but one of
the relevant cases, hearing officers referred to the results of the mental health assessment
as part of the evidence weighed. Penalties were reduced or dismissed based on the
assessment in two cases. Sanctions in three more cases were mitigated but the changes
appeared unrelated to the mental health assessments.

No RVRs apparently were written for self-injurious behavior. Staff
reported that CEN adopted the sexual misconduct protocol at the end of the monitoring
period.

Transfers:

CEN did not refer inmates to DMH. There were 20 MHCEB referrals, two-
thirds of whom were transferred within timeframes or rescinded. A spike of lengthy
waits, taking up to 15 days, occurred in one month; otherwise, delays lasted only one or

two days.

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There were 53 CTC admissions for mental health reasons. Few inmates
had more than one admission, but a large proportion, 34 percent, had excessive lengths of
stay, with the longest stay reaching 31 days. CEN actually reduced excessive lengths of
stay in the CTC during the monitoring period. Many lengthy stays were accounted for by
inmates awaiting transfers to a MHCB, EOP inmates considered too fragile to await
transfer outside the CTC and inmates whose stays were only a day or two longer than ten
days. Approximately 13 percent of inmates with excessive lengths of stay should have
been referred to an MHCB. The longest stay in this group was nine days.

Audits found that inmates generally were seen on the day of their
admission to the CTC, but only half were seen by a clinician daily, while 15 percent
never saw a clinician during their stay. One inmate was not seen during a 15-day stay.
Several of the longest stays may have been resulted from the lengthy hiatus between
contacts. These omissions were attributed to a dysfunctional CTC licensing requirement,
which reportedly prevented contractors from providing treatment unless they were
credentialed in the CTC.

Mental health treatment in the CTC was inadequate. According to a staff
audit, 60 percent of cases had a suicide risk assessment upon admission and only 20
percent had a risk assessment upon discharge. Just 58 percent of inmates with lengths of
stay over 72 hours had an IDTT meeting. CEN reported that alternative holding cells
were not used, While CEN had not yet updated its video monitoring policy, staff affirmed
that the correct procedures were in place throughout the monitoring period.

Documentation of five-day follow-up documentation continued to reflect

problems. None of the cases reviewed were compliant with clinical and custody follow-

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up requirements, Documents suggested that inmates who should have been seen for five-
day follow-up were often missed. Some first day follow-up contacts were missed. Few
cases were followed-up all five days. Custody observations were commonly documented
for only a portion of one shift, or there was no documentation of hourly checks. The
administration reportedly attempted multiple methods to crease awareness of these
obligations, and staff designed chronos for the different steps, but these measures did not
achieve the desired result.

Seven caseload inmates were inappropriately sent to CEN during the
monitoring period. Lengths of stay were not discernible for those seven. All told, 199
3CMS and 11 EOP inmates were housed in CEN during the monitoring period. All
inmates on site at the time of document production had lengths of stay within mandated
timeframes except one who was there for medical treatment. All were transferred or
paroled within timeframes, except for two 3CMS inmates whose stays were extended by
14 days or less. None of the five 3CMS inmates living in administrative segregation at
the time of document production had been there longer than 9() days.

Other CAP Issues:

a. Partial Compliance

Staff audits revealed poor response times, up to two weeks, for urgent
referrals early in the monitoring period, but that was remedied later in the period and the
improvement was sustained. One MHTS referral report indicated that 82 percent of
referrals were seen within one week, and 92 percent were seen within two weeks.

Response times to the remainder stretched to six weeks.

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The monitor’s review of documents on the screening of inmates admitted
to administrative segregation indicated that 95 percent were completed within a day, but
the remaining cases were screened weeks or months after placement. This finding was
troubling because the lack of a screening was a factor in two suicides at CEN. Although
CEN had reasonable policies and procedures, this issue needed better oversight. The
issue was not on the agenda of the suicide prevention committee nor, apparently, had it
attracted the attention of supervisors, managers or administrators.

b. Non-compliance

Necessary improvements in initial mental health contacts and weekly case
manager contacts in administrative segregation did not occur. For several monitoring
periods, CEN had been unable to demonstrate that EOP inmates received weekly
contacts. Inmate history reports showed multi-week gaps in almost half of the 11 EOP
inmates that were at CEN during the monitoring period. Only one EOP inmate had an
IDTT meeting.

New arrivals who should have been seen by mental health were not
consistently identified, referred and seen in a timely manner. Staff audits showed that ten
percent of new arrivals who were referred, were never seen by mental health staff. Only
11 percent of initial mental health evaluations were timely, according to staff audits.
Nurses who occasionally covered R&R received further training, but staff audits
continued to find a small number of inmates who were not referred by bus screeners.
Some initial mental health contacts were made anywhere from one to eight weeks after
arrival, but precise figures on the dates of arrival, and contact were not provided. Initial

IDTT meetings were held late 90 percent of the time; few were attended by a psychiatrist.

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Case management contacts in administrative segregation occurred weekly
for about 40 percent of eligible inmates, about the same percentage reported during the
preceding monitoring period. IDTT meetings apparently had recently commenced, but
none was held timely.

Other Issues:

Documents affirmed that CPR and suicide response equipment was
present on all housing units. The documents listed cut-down kits, micro-shields, PPE kits
and inventories but did not include ambu-bags. Staff reported that the vast majority of
staff had been trained in the CPR policy, and a reasonable plan for ensuring training
when the remaining employees return to work was in place. Staff wrote that there were
no incidents that required, or might have required, CPR during the monitoring period.

Institutional Summary:

CEN had well-established practices for identifying and transferring
MHSDS inmates expeditiously. Inmates often did not receive the required mental health
treatment while awaiting transfer. Some care was untimely; some was simply not
provided. CEN did not keep current with new requirements for suicide prevention,
medication management and more intensive oversight in administrative segregation.
Clinical and custody follow-up and observation of inmates discharged from the CTC or
MHCBs was either poorly documented or inconsistently carried out.

CEN had a number of well-designed policies and procedures but they did
not ensure adequate practices. Audits sometimes revealed problems without producing a
remedial response. QITs or corrective actions should have addressed such areas as timely

bus screening referral, initial mental health contacts, screenings, case management

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contacts and IDTT meetings in administrative segregation as well as clinical contacts in

the CTC, but documentation indicated that CEN did not confront known problems.

Central California Women’s Facility (CC WE)
March 8, 2006 — March 10, 2006

Staffing vacancies were concentrated among clinical staff at CCWF, with
partial coverage by contractors. Of 9.5 psychiatry positions, five were vacant. Coverage
by 1.75 full-time contractors brought the functional vacancy rate for psychiatrists to 24
percent.

Among 21 psychologist positions, 15 were filled. With use of three full-
time contractors, the functional vacancy rate for psychologists was 14 percent. Of 7.5
psych social worker positions, two were vacant and one was covered by a contractor.

Total istitutional population was 3,776 including 1,057 inmates in the
MHSDS caseload. Of the 984 3CMS, 13 were in administrative segregation and 146
were in reception. There were 68 EOP inmates, including one in administrative
segregation and five in reception. Five inmates were in MHCBs.

Quality Management:

There was no documented activity of the institution’s local governing
body from August 1, 2005 to January 21, 2006. The institution’s overall healthcare
quality management committee was well constituted and met several times during the
monitoring period, with minutes documenting its activity.

The mental health subcommittee was also well constituted, had regular
meetings and kept minutes during the entire monitoring period. It covered all
institutional CAP issues, chartered appropriate QITs, reviewed completed team efforts

and issued directives resulting from them. Minutes did not reflect any process for

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consideration of non-CAP mental health issues.

Use of QITs and intuitional studies improved significantly during the
monitoring period. Meaningful and useful QITs were chartered and completed, and
CAP-related institutional studies were undertaken. Chartered and completed QITs
covered conflicts between ducats and UHR availability, procedures for timely processing
of medication orders, continuity of medication and custodial completion of computer
tracking for RVRs. Institutional studies covered timeliness of inmate self-referrals,
frequency of psychiatry contacts for 3CMS, total number of psychiatry contacts for
3CMS inmates per quarter, relative percentages of routine versus non-routing psychiatry
contacts, frequency and number of case manager contacts for 3CMS inmates per quarter,
relative percentages of routine versus non-routine case manager contacts, extent of
medication non-compliance, documentation of medication compliance in psychiatric
progress notes, and reception center screenings and evaluations.

Peer review for case managers was implemented and scheduled
quarterly. Peer review audit protocols allowed for examination of 3CMS
programming, treatment plans and quality of progress notes. Minutes showed
decisions to re-design the chart audit tool, audit charts at the rate of one per year per
inmate and increase accuracy of results.

Medication Management:

The institution evaluated only 17 newly arriving inmates with verified
medication orders. It provided no information on psychiatric visits and subsequent

renewals.

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The institution did not provide any data on medication discontinuity on
intra-institutional housing changes. Audits measured only time lapses between orders to
first doses, which remained non-compliant since mid-2004.,

An audit found a medication non-compliance rate of 40 percent. A quality
assurance report stated that only 82.4 percent of psychiatric notes on non-compliant
inmates addressed the non-compliance.

Pill lines were compliant.

No information on informed medication consent was made available to the
monitor.

Laboratory testing and results on use of Lithium and Tegretol showed
improvement over poor past performance, but no information was supplied with respect
to testing for use of Depakote. No laboratory studies were done for inmates started on
new medication or in reception center.

DOT therapy was implemented, including in administrative segregation
where medication was administered in-cell with a correctional officer present. Minutes
of a suicide prevention committee meeting cited one incident of cheeking and several
overdoses but no investigation. In addition, pharmacy reported one or two cases of
hoarding per week.

Four Keyhea orders were initiated with one resulting in an order. Three
had been initiated during the preceding monitoring period, resulting in a total of four
inmates on a Keyhea order at the time of the monitor’s visit. Since the preceding visit,
two orders were renewed and none lapsed. There were no denials of orders after

hearings, nor were there any institutional decisions not to seek Keyhea orders on advice

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of counsel. No inmates left the institution before scheduled hearings. From September
1, 2005 to February 1, 2006, seven patients were involuntarily medicated in 16 separate
instances.

The institution had no inmates on HS orders and no LOP provision for the
distribution of HS medications.

No information on parole medication was made available to the monitor.

The institution remained compliant with the use of heat cards.

Mental Health Assessments for the Disciplinary Process:

Of 1,694 RVRs issued during the monitoring period, 588 were issued to
3CMS and 23 were issued to EOP inmates. The institution reported that all of the EOP
inmates received assessments but was unable to quantify how many 3CMS inmates
received assessments. The mental health subcommittee reviewed RVR process and
concluded that it was operating appropriately and appropriate logs continued to be
maintained. No other data or documentation was made available for the monitor’s
examination.

Transfers:

Of the nine referrals to DMH acute or intermediate care during the
monitoring period, three were rejected and none was rescinded. Time lapses between
referral and acceptance were long, averaging 10.7 days with a range one to 21 days.
Average time from referral to transfer was 8.7 days with a range of six to 15 days, with
half of waiting times attributed to transport to PSH. Lengths of stay in the MHCB unit
for inmates awaiting transfer to DMH averaged 8.9 days, approximately double that of

two to three years earlier.

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CCWF under-referred to acute and intermediate care based largely on
perceived futility. Discussion among the EOP director and his staff during an IDTT
meeting indicated that four or five good candidates for PSH had not been referred. Staff
was discouraged by rejections of several patients whom they thought should have been
accepted but remained in MHCBs for long periods. Staff believed that the CCAT yielded
to rejections by PSH too readily.

During the monitoring period there were 85 MHCB admissions including
33 from CCWF, 26 from CIW, 25 from Valley State Prison for Women (VSPW) and one
from CRC, Of the 33 CCWF inmates, four had stays longer than ten days and two were
awaiting DMH transport. Of the 26 from CIW, six had stays longer than ten days, two
were sent to PSH, one was transferred to VSPW and three were returned to CIW. Of the
25 from the VSPW, six had stays longer than ten days, one patient was admitted to PSH,
one was rejected and four were returned to VSPW.

According to MHCB census data, daily population in December 2005
averaged five inmates with a range of two to eight. In January 2006 it averaged seven
with a range of five to nine. In February 2006 daily it averaged four with a range of one
to six.

Other CAP Issues:

a. Partial Compliance

Efforts to improve timeliness of responses to self-referrals improved with
use of a log, but remained somewhat non-compliant with timelines. Data showed that all
self-referrals were seen within an average of 7.3 days, and that all referrals were seen

within an average of 6.8 days.

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Timeliness of medication renewals and deliveries was not adequately
measured. An audit gauged only times from renewal to first dose, which had been non-
compliant since mid-2004.

Ninety five percent of EOP inmates were offered ten hours of structured
therapeutic activity per week.

Psychiatry attendance at IDTT meetings slipped but custody attendance
increased. Evaluations and treatment plans were completed within 14 days for 86 percent
of 3CMS inmates.

A handful of inmates discharged to VSPW and CIW were held in MHCBs
for over five days. CIW transport delays persisted.

b. Non-Compliance

Psych techs were not completing rounds in administrative segregation.

No suicide watches had been conducted during the preceding year. No
restraints were used. In the MHCB unit, cameras remained on for patients who were not
on suicide watch. New video equipment was an improvement over the old equipment.
There were still male correctional officers staffing the MHCB and watching the video
monitors for unexplained reasons. This privacy issue was taken up with members of the
warden's executive staff.

Other Issues:

During the monitor’s visit there were 984 3CMS inmates at CCWF,
including 13 in administration segregation and 146 in reception center. Mental health
care was provided by seven psychologists and four social workers, with one “roving”

psychologist who covered absences and handled referrals. Clinical caseload sizes ranged

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from 77 to 112. There were five psychiatrists whose caseloads ranged in size from 79 for
a part-time contractor to 336. Clinical space was sparse. Of 86 general case manager
contacts with 3CMS inmates, 38 or 44 percent were cell-front. Twenty-one weekly and
bi-weekly groups were running with 224 3CMS inmates participating. Topics included
women’s issues, trauma and abuse, domestic violence, life skills, anger management,
grief management and interpersonal learning. Since September 1, 2005, 292 inmates had
been in groups. There were 93 3CMS inmates on wait lists with average waits of 97
days. The monitor and monitor’s expert observed groups which were well-run with
good participant interaction.

The monitor also attended 3CMS IDTT meetings during the visit. The
teams and meetings were well organized, and afforded good interaction among clinicians
and between them and inmates. The teams reviewed proposed treatment plans for each
inmate fully. They were comprised of a psychiatrist, two psychologists, a correctional
counselor and an office assistant/recorder, as were other IDTTs according to staff. Each
meeting was attended by the inmate’s case manager and a senior psychiatrist. UHRs and
C-files were present. Case managers’ presentations were comprehensive, covering
diagnoses, medication, and patients’ activities, concerns, strengths, weaknesses, problems
and therapeutic group involvements. Case managers answered inmates’ questions and
explained their proposed treatment plans and ways to request mental health care and
referrals. Inmates expressed their views, concerns and interests in an accepting
atmosphere.

One EOP and 19 3CMS inmates were in administrative segregation. None

was in an overflow unit. A psychiatrist who was assigned to EOP and the MHCB unit,

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plus a 3CMS psychologist, covered administrative segregation. In preparation for the
monitor’s visit, the institution analyzed eight case management contacts with 3CMS
administrative segregation inmates. ‘The monitor’s review of six of those contacts plus
two others in administrative segregation found that required weekly contacts were not
occurring. Psych tech rounds in administrative segregation were non-compliant, as found
by an institutional study covering September 2005 to February 2006.

Reception center population grew significantly with 3,081 arrivals
between August 2005 and March 2006. Staff reported that reception center inmates in
need of EOP services were sent directly to EOP housing. One psychiatrist was assigned
exclusively to the reception center. Four of the reception center psychology positions
were filled. Case managers saw inmates every 90 days and as referred.

Institutional Summary:

Staffing vacancies among psychiatrists and psychologists were partially
covered by contractors for functional vacancy rates of 24 percent and 14 percent,
respectively. Psych social worker positions were fully covered.

Although the institution’s local governing body was moribund, the quality
management committee and mental health subcommittee were well constituted and
active. All CAPs were covered and meaningful QITs were chartered and completed.
Peer review for case managers was implemented.

Few newly arriving inmates with verified medication orders were
evaluated. No information was provided to the monitor on psychiatric contacts,
renewals, medication continuity for intra-institutional transfers, informed consent or

parole medication. Medication non-compliance was measured at 40 percent by one audit.

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Pil lines and heat cards were compliant, but laboratory testing was not. DOT was
implemented, including in administrative segregation, and Keyhea orders were initiated.
No inmates were given HS orders.

All 23 EOP inmates who were issued RVRs were given assessments. No
information was available on how many of the 588 3CMS who were issued RVRs were
given assessments. Review of the RVR process by the mental health subcommittee
found that it was operating appropriately.

CCWE under-referred to DMH. A third of nine referrals were rejected.
Average transfer times exceeded limits for the few referrals that were accepted.
Approximately half of MHCB admissions exceeded ten days.

The institution achieved partial compliance with responses to seif-referrals
but continued to lag in timeliness of responses. Times from medication renewals to first
doses remained non-compliant. Ten hours of out-of-cell structured therapeutic activity
were offered to 95 percent of EOP patients. IDTTs managed to formulate treatment plans
within 14 days for 86 percent of 3CMS inmates, although psychiatric participation in
IDTTs declined.

Compliance was not attained in the areas of psych tech rounding in
administrative segregation and laboratory studies for monitoring blood levels of inmates
on mood-stabilizing medication. No suicide watches had been conducted during the year
preceding the monitor’s visit. The institution continued to have male correctional
officers staffing the MHCB and watching video monitors.

For 3CMS inmates, meaningful well-run therapeutic groups were offered,

although wait lists were long. Clinical space was sparse, and 44 percent of clinical

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contacts were conducted at cell-front. IDTT meetings were well attended and functioned
appropriately.

In administrative segregation, weekly clinical contacts were not occurring
and psych tech rounding was non-compliant.

Reception center population grew significantly with 3,081 arrivals from
August 2005 to March 2006. A psychiatrist was assigned exclusively to reception center,
and four psychology positions were filled. Case managers maintained 90-day contacts.
According to staff, inmates in need of EOP services were sent directly to EOP housing.

Chuckawalla Valley State Prison (CVSP)
Paper Review

CVSP had functional vacancy rates of 50 percent for psychiatrists, 40
percent for case managers and 18 percent overall for mental health positions. CVSP was
able to remedy a longstanding staffing shortage by hiring a half-time psychiatrist. A
second, full-time psychiatry position remained vacant. A contractor provided partial
coverage, ranging from 30 to 80 hours per month. The facility did not use telemedicine.
One of 2.5 allocated psychology positions was vacant. The smali number of contractual
hours used covered fewer than half of the open hours. A senior psych tech position was
vacant and it was reportedly covered by contractual staff. Both psych tech positions were
filled, as were most clerical positions.

Two of 20 MTA positions and two of 15 RN positions were vacant. Both
pharmacist positions, one full-time and one half-time, were vacant, but the two pharmacy
tech positions were filled. Staff reported that contractors covered vacant nursing and

pharmacy positions. The laboratory’s only position was filled. One of two allocated

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medical records positions was vacant. At the time of the paper review, CVSP had 12
3CMS inmates, four of whom were in administrative segregation.

Issues Resolved:

Inmates in general population and administrative segregation met with
IDTTs that were composed appropriately.

Quality Management:

Documents provided for review suggested that the local governing body
had not met. The healthcare quality management committee met monthly. The mental
health subcommittee met monthly but was not attended by members of custody or
nursing staff. Agendas reflected little quality management activity. No mental health
QITs were active during the monitoring period. There were too few clinicians for peer
review.

At monthly meetings of the suicide prevention committee, members were
briefed on CDCR’s monthly videoconference suicide prevention programs. Beyond that
agenda item, the content of the meeting seemed identical that of the mental health
subcommittee. Participants from outside the mental health department were rarely at
suicide prevention committee meetings. Although a full-fledged mental health quality
management process was unnecessary for CVSP’s caseload of 12, MHSDS inmates,
interdisciplinary collaboration and suicide prevention efforts needed strengthening.

Medication Management:

Audits and logs indicated that inmates arriving on psychotropic

medication received it timely and were seen by a psychiatrist within one week. Audits

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sampled few medication order renewals, intra-institutional moves or instances of non-
compliance, but those that were reviewed were found to have been handled timely.

Audits found that medication was delivered within a day of a physician’s
order, although meeting minutes noted a few problems related to orders written on
weekends and when inmates were discharged from the infirmary. Audits found that
nearly all medication consent forms were complete. Staff provided a log of lab-related
functions. It showed appropriate timing in one case and one blood draw delayed by 18
days, but reasonable results and review times in another case. The information provided
did not address whether laboratory orders were written in all appropriate cases.

Staff reported that processes were operational for HS medication orders,
Keyhea orders, parole medications and DOT. Documents did not include descriptions of
these processes. Typically two or three inmates had DOT orders at any given time. It
appeared that no inmates at CVSP were subject to a Keyhea order. The number of
inmates with HS orders ranged from zero to ten during the monitoring period. Three
inmates reportedly paroled during the monitoring period. Staff reported that the two with
current medication orders received a supply of medication upon release.

Mental Health Assessments for the Disciplinary Process:

A total of 1,000 RVRs were issued during the monitoring period. None
were issued to EOP inmates or inmates in the infirmary. Ten were issued to 3CMS
inmates; two were referred for mental health assessments. Indications were that the
mental health process and content were adequate. Too little information was provided to
determine whether mental health input made an impact. CVSP did not provide

information about RVRs issued for self-injury or sexual misconduct.

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Transfers:

CVSP did not refer inmates to DMH. There were 24 MHCB referrals.
Only one was rescinded. The brief length of stay in the infirmary in that case indicated
that it was not rescinded for lack of access. All referrals were made timely but more than
half of inmates who went to an MHCB waited longer than 72 hours. Transfers were .
accomplished timely in 38 percent of the cases and were only one day late for another
significant subset. The longest time to transfer to an MHCB was 18 days.

Logs showed a total of 28 OHU admissions, some of which originated at
Ironwood State Prison (ISP). Lengths of stay generally exceeded timeframes for OHU
inmates not sent to MHCBs, but this situation was rare. In three such cases, one inmate
was discharged timely and two were retained up to one week due to concurrent medical
issues. OHU treatment did not always include daily contacts by a mental health clinician.
Most never saw a psychiatrist. Psychiatry contacts were sometimes made for several
days and then occurred intermittently. Inmates generally saw a psychologist daily, but
staff audits showed that some inmates had no contact for four-day stretches. Information
was insufficient to determine whether suicide risk assessments were done. There was a
reasonable procedure governing holding cell use pending admission. Logs showed that
the only two relevant cases waited three hours or less.

Twenty caseload inmates were transferred inappropriately to CVSP. Most
were already designated as needing the 3CMS level of care upon arrival. Five were on
psychotropic medication but their files lacked MHSDS chronos. All 20 were transferred
out well within the 30 days. Regarding mainline transfers, there were only two EOP

inmates at CVSP during the monitoring period; both were housed in administrative

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segregation. Both were transferred within the mandated timeframe, although one was
late in reaching an administrative segregation hub. Of the 64 3CMS inmates that were at
CVSP during the monitoring period, all current cases had lengths of stay within
timeframes and all earlier cases were transferred or paroled timely.

Other CAP Issues:

CVSP had an appropriate policy and reported conducting five-day follow-
up in cases that involved suicide-related admissions to the OHU and MHCBs elsewhere
inCDRC. Staff reported that they were unable to demonstrate compliance because in all
but one case the inmates went to an MHCB unit and did not return. Access to psychiatric
treatment improved with the hiring of a half-time psychiatrist but had not yet improved in
the infirmary. Responses to referrals were reasonably timely, with 85 percent answered
within one week, 98 percent answered within two weeks, with outliers taking up to six
weeks to result in contact.

Documentation provided demonstrated sustained compliance with the
other requirements regarding screening, evaluation and mental health treatment of 3CMS
and EOP inmates in general population and with requirements that pertained to
administrative segregation.

CVSP had appropriate policy and procedures governing administrative
segregation screenings, but screenings were on occasion missed or delayed. A log
showed that 94 percent of cases were screened within three days of placement. Staff
screened the remainder within four to seven days and, upon learning of deficiencies,
improved their source of information about new arrivals.

Institutional Summary:

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CVSP continued to have difficulty attracting contractors and hiring staff to
fill vacant positions. One CAP problem was resolved. Compliance appeared to have
been sustained on all previously resolved items. Treatment provided in the infirmary was
inconsistent, with gaps psychiatric contacts and uncertainties about suicide risk
assessments.

Although a full-fledged mental health quality management process may
not have been necessary for CVSP’s caseload of 12, interdisciplinary collaboration and
suicide prevention efforts needed strengthening. The suicide prevention committee
needed interdisciplinary membership to devote more attention to examining risk factors
and local practices that might enhance prevention.

CVSP was compliant with transfer deadlines. A total of 64 3CMS inmates
were transferred within timeframes. Twenty caseload inmates were transferred
inappropriately to CVSP. All 20 were transferred out well within 30 days.

Deuel Vocational Institute (DVD
June 29, 2006 — June 30, 2006

The use of contractors at DVI helped offset significant vacancy rates in
mental health staffing except among psych techs. Of 4.5 allocated psychiatry positions,
2.5 were vacant. Coverage by four contractors reduced the functional vacancy rate to
approximately 25 percent. Telemedicine was not used.

DVI had 19 psychology positions. One psychologist was redirected to
headquarters, and six line positions remained vacant, for a vacancy rate among permanent
staff of 36 percent. Although one of three psychiatric social worker positions was vacant,
nearly all case manager vacancies were covered by a stable group of eight contractors.

Case managers were concentrated in administrative segregation, where caseloads

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averaged 20 to 30 3CMS and a few EOP inmates per case manager. Caseloads in the
reception center were much larger at 50 to 70 with several EOP inmates assigned to each
case manager. All clerical positions, except a half-time position, were filled.

Accounts of psych tech positions varied. Mental health staff reported
three psych tech vacancies out of eight positions, while medical staff reported one
vacancy among six psych tech positions.

The use of contractors reduced the near-50 percent vacancy rate among
MTAs to a functional vacancy rate of 20 percent. All but three of the institution’s 22 RN
positions were filled. All medical assistant and laboratory allocations were filled.
Pharmacy staffing was nearly full with just a 0.2 vacancy reported.

Reportedly a three percent vacancy rate existed in the custody ranks.
DVI’s total institutional population dropped to 3,606 while caseload population increased
to 735. 3CMS inmates numbered 16 in the mainline, 111 in administrative segregation,
190 in special population and 349 in the reception center. There were 20 EOP inmates in
administrative segregation, 13 in special population and 23 in the reception center. In the
nine-bed OHU, the census dropped from 14 to seven during the monitor’s visit.

Quality Management:

Little changed in quality assurance at DVI during the monitoring period.
The mental health quality management committee and the suicide prevention
subcommittee held monthly meetings.

QITs were seldom created or active. Most had functioned briefly, without

appropriate staff and little effort at remediation. Despite having chartered over 30 QITs,

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none was functioning at the time of the monitor’s visit. The most recently formed QIT,
on out-of-cell contacts in administrative segregation, had been prematurely disbanded.

Medication audits were flawed in that they did not distinguish between
general and psychotropic medication, relied on a small sample of charts and may not
have been taken from relevant populations.

Peer review was not conducted, reportedly due to union resistance based
on concern over how the information would be used.

Suicide prevention committee meetings were attended by representatives
of medicine, nursing and custody. Minutes were substantive and showed a broad agenda
that ranged beyond suicide prevention. Overdoses and suicide attempts were on the
agenda but there was no substantive discussion or documented review of these problems.
There was no accurate tracking of overdoses, hoarding and other DOT failures, although
staff reportedly discussed these issues in a daily report to the warden. The monitor’s
expert’s review found at least five incidents of serious suicide attempts, including
overdoses, cutting and hanging, none of which were known or reported to the suicide
prevention committee.

A case of suicide that came to the monitor’s attention raised questions
about DVI’s ability to implement suicide prevention measures or learn from fatal
outcomes (see Exhibit E, Case Review 7). The decedent was an EOP patient on 15-
minute suicide checks and video monitoring who died of cardiac arrest. He was found in
rigor mortis indicating a lapse in observations of at least four hours. There were long
intervals between observations and questionable documentation, but no administrative

response was apparent. The deceased inmate’s medical record was missing an admission

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assessment and all nursing and video-monitoring checks. Staff reported that there had
been no review by the emergency response review committee or the suicide prevention
committee. Plaintiffs’ counsel requested the videotape, but were provided with only a
few hours. The monitor also asked to view the videotape but was told that no staff on site
could access the evidence room.

Medication Management:

DVI revised its LOP in light of Plata requirements.

Information regarding medication continuity for new arrivals was scant.
Bridge orders appeared to work well, although delays between orders and administration
exceeded 24 hours. Times to initial psychiatric assessment were overly long with delays
of one month or longer. For unverified medication claims, procedures were lacking.

Timeliness of medication order renewals remained compliant. An audit
showed approximately 90 percent of patients received renewals within one day. For
transfers within the institution, medication continuity was gauged at 83 percent
compliance, although the small sample size made that finding tentative.

Medication non-compliance remained problematic. Audit methodology
was poor with an insufficient sample size. Almost no referrals resulted in contact within
cone week, and most took three to four weeks.

There was a well-established medication error reporting and analysis
system. During the monitoring period, medication errors dropped to 13 out of 37,040
doses. Pharmacy intercepted 110 errors and another 38 were caught on technical or

administrative intervention.

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Informed medication consent forms were obtained less frequently. Ina
sample of 40 audited UHRs, only 30 percent contained documentation of informed
consent.

Lab testing practices were revised to distinguish between initial and
follow-up testing and among medication classes. However, performance in this area
regressed. Audit methodology and results were both poor, with findings of 25 to 83
percent compliance. Reversion to heavy reliance on contract psychiatrists increased the
need for oversight of orders for lab tests and the documentation of lab results.

The number of inmates on DOT increased from two to 64 during the
monitoring period. Ail DOT orders were stamped in red on MARs and were time-limited
to prompt review by the provider for renewal or change of administration method.
Hoarding was reported an average of two to three times per month.

The use and tracking of Keyhea orders was rare and poorly implemented
at DVI. The institution’s Keyhea list did not include the reported sole inmate with a
current Keyhea order, as well as a second inmate who was on the headquarters Keyhea
list.

The chief psychiatrist and senior MTA jointly reviewed all HS orders,
which dropped in number from 200 to 77. Correct administration of HS orders improved
with use of MTAs working 2:00 p.m. to 10:00 p.m.

A local practice of administering Wellbutrin or Seroquel in holding cells
when given to inmates in administrative segregation was used to reduce medication

misuse.

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Psych techs ordered and shepherded parole medications. A sound audit
found that 95 percent of paroling inmates on psychotropic medication received a 30-day
supply, while the rest received them via mailings to their parole officers, with a small
percentage refusing medication. DVI still had not dealt with release planning.

Mental Health Assessments for the Disciplinary Process:

Approximately 27 percent of a total of 1,017 RVRs were issued to non-
caseload inmates. Of these, 233 RVRs were issued to 3CMS inmates and 38 to EOP
inmates. Among 59 mental health assessments requested, approximately nine percent of
the referrals were 3CMS inmates, about the same percentage as in the preceding
monitoring period.

Clinicians followed the process correctly with appropriate input into
assessments, as confirmed by staff audits. Hearing officers, however, often failed to
consider pertinent clinical input in their decisions. Charges were dismissed in two cases
and reduced in another two. In some cases the influence of mental illness on the
infraction was apparent, but hearing officers did not take the clinical input into
consideration. Staff audits found that hearing officers considered and responded to
clinical input in ten percent of files sampled.

Staff reported that they followed the sexual misconduct screening
protocol. Penalties for sexual misconduct were imposed infrequently.

Transfers:

Except for five referrals to DMH intermediate inpatient care shortly before

the monitor’s visit, DVI made no referrals to DMH during the 18 months preceding the

visit. Transfers took four to seven days following referrals. At the time of the visit,

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pending transfers were less than a week in duration. One patient was transferred timely

to DMH at CMF, taking a total of 11 days from identification to transfer. DMH initially
rejected, but later accepted, another referral to intermediate inpatient care because of the
inmate’s protective custody status, which he agreed to waive.

Admissions to MHCB units elsewhere increased while referrals dropped
by more than during the monitoring period. About one third of MHCB stays exceeded
ten days. DVI referred about 25 percent of inmates who met Program Guide criteria,
citing futility for the low rate. Staff reported delays of up to a week in headquarters
responses to referrals. When staff did refer, it was often too late for timely transfer, with
41 percent of referrals occurring from three to 11 days into their OHU stays. Acceptance
times ranged from same day to 13 days. Late acceptances accounted for about 22 percent
of late transfers. All told, timely transfers declined to about 35 percent of referred cases,
and worsened after April 2006 with decreasing availability of beds. About two thirds of
transfers were completed in eight days or less, and the rest were distributed over ten to 16
days. Transportation was timely.

DVI staff reported that patients were returned from MHCBs in unstable
condition, with 13 percent readmitted to the OHU immediately, while half of those were
re-referred to MHCBs. Reportedly, inappropriate downgrading of care levels by MHCB
staff elsewhere had declined.

OHU admissions increased to an average of 98 per month, up from 85 per
month on average during the preceding monitoring period. Stays over 72 hours remained
at 26 percent with outliers with much longer stays. Dozens of inmates were in the OHU

for weeks continually or by multiple admissions. At least 11 were there for a month or

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longer with the longest single stay at 54 days. Only two with the longest stays were
referred to MHCBs. There was some modest decrease during the monitoring period in
multiple admissions.

There were nine continuous suicide watches in the OHU during the eight months prior
to the monitor’s visit. At the time of the monitor’s visit, the OHU housed seven caseload
inmates who were on suicide precautions. From time to time, heavy medical use of OHU beds
led to an overflow of caseload inmates into administrative segregation, where they were given
one-to-one direct observation with cell-front medication administration. No log of
administrative segregation overflow was kept until June 2006. At that time, ten inmates were
housed in the overflow unit during a two-week period, with stays ranging from 12 hours to three
days. All of these inmates were released to their regular housing after one clinical review.

Incident reports covering the six-month period preceding the monitor’s
visit showed a completed suicide by hanging in a holding cell on the first floor of the
OHU and an attempted suicide by cutting by an OHU overflow patient. This inmate was
taken to an outside hospital and subsequently placed in the OHU on suicide watch.

Inmates admitted to the OHU reportedly received case manager and
psychiatric contacts five days per week. The monitor observed a failure to make contact
with inmates on the day of their admission, even though the admissions were at mid-day
and the patient load was relatively light.

Physical plant problems in the OHU were unchanged. The ten regular
OHU cells allocated to mental health had been completely retrofitted. There were four
designated "quiet cells," two of which had been retrofitted while work on the other two

was deferred for funding reasons. The monitor observed one cell that was dark, dirty and

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malodorous with flaking cement walls that posed a possible risk for self-injury by cutting.
Water from the toilet had overflowed. The combination mattress-pillow was torn in
several places with strips of cloth that could be pulled out easily. Although custody
procedures required rigorous cleaning, frequent patient moves occasionally precluded
such measures. These physically inappropriate cells were used often for suicide watch
patients who were moved from the ten regular cells to these safety cells if they became
suicidal.

Failure to refer to MHCB units elsewhere resulted in longer lengths of stay
in the OHU, where unacceptable in-cell conditions and lack of out-of-cell time precluded
adequate long-term treatment. Increasing frequency of OHU re-admissions and the rising
use of restraints attested to this problem.

Conflicting reports surrounded the use of five-day clinical suicide follow-
up. Supervisors reported follow-up for patients who returned from MHCB units
elsewhere, but the follow-up list did not include the names of ail suicide-risk OHU
admissions. Staff audits concluded that case manager contacts were in compliance, but
this conclusion was not supported by the raw data. Documentation suggested that missed
contacts were reported as completed. Audit results found custody compliance with
follow-up in 35 to 50 percent of cases, but the data gathered did not document the extent
of reported non-compliance.

DVI did not meet transfer timelines for caseload inmates in the reception
center. DVI continued its practice of not providing dates of endorsement for EOP
inmates, In the reception center approximately the same number of EOP inmates were

processed as in the past, but compliance with court ordered transfer timelines declined.

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Ninety three EOP inmates were placed and another 61 paroled before placement. About
42 percent of transfers were untimely with the longest wait reaching 6.5 months. Pending
waits were longer, with 48 percent already beyond transfer timeframes and the longest
reaching eight months. DVI’s procedure for expedited transfers of EOP inmates was still
in place but employed erratically.

Transfer times changed little for 3CMS inmates in reception center, with 21
percent of the 467 pending transfers already beyond transfer timeframes. Of transfers already
completed, 13 percent were untimely or were paroled after remaining the reception center longer
than 90 days. The longest stay for both groups was eight months. CDCR’s June 2006
movement of 3CMS inmates out of reception centers resulted in about 30 to 40 more transfers
than DVI’s usual rate.

Among the 30 3CMS and five EOP inmates in administrative segregation,

27 percent remained there longer than 90 days, comparable to the preceding monitoring
period. The longest 3CMS and EOP stays were nine and five months, respectively.
During the monitor’s visit ten EOP inmates had been in administrative segregation longer
than 30 days without being moved to a hub, compared with 39 during the preceding
monitoring period. Staff audits found that just 17 percent of EOP inmates in
administrative segregation were transferred timely.

Other CAP Issues:

Although screening and evaluation were resolved years ago, the last three
semi-annual staff audits found moderate slippage. A staff audit during the monitoring

period showed that 99.98 percent of screenings were timely, but a smaller 82 percent of

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